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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                        )
    In re:                                              )      Case No. 12-
                                                        )
    RESIDENTIAL CAPITAL, LLC, et al.,                   )      Chapter 11
                                                        )
                                       Debtors.         )      Joint Administration Pending
                                                        )

                      DEBTORS’ MOTION FOR ORDER UNDER
             BANKRUPTCY CODE SECTION 521 AND BANKRUPTCY RULE 1007(c)
              EXTENDING TIME FOR FILING SCHEDULES AND STATEMENTS

                    The debtors and debtors in possession in the above-captioned cases (collectively,

the “Debtors”)1 hereby move for entry of an order, under section 521 of title 11 of the United

States Code (the “Bankruptcy Code”) and Rule 1007(c) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), extending the deadline by which the Debtors must file

certain schedules and statements by thirty-three (33) days (the “Motion”).2 In support of the

Motion, the Debtors rely upon and incorporate by reference the Affidavit of James Whitlinger,

1
       The names of the Debtors in these cases and their respective tax identification numbers are identified on
       Exhibit 1 to the Whitlinger Affidavit (defined below). Additional subsidiaries and affiliates of the Debtors may
       file Chapter 11 petitions on a rolling basis. As used herein, the term “Debtors” includes any such entities.
2
       Creditors and parties-in-interest with questions or concerns regarding the Debtors’ Chapter 11 cases or the
       relief requested in this Motion may refer to http://www.kccllc.net/rescap for additional information.




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Chief Financial Officer of Residential Capital, LLC, in Support of Chapter 11 Petitions and First

Day Pleadings, filed with the Court concurrently herewith (the “Whitlinger Affidavit”). In

further support of the Motion, the Debtors, by and through their undersigned counsel,

respectfully represent:

                                         JURISDICTION

       1.      This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and this Motion

in this district is proper under 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the

relief requested herein are Bankruptcy Code section 521 and Bankruptcy Rule 1007(c).


                                         BACKGROUND

       2.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court for relief under Chapter 11 of the Bankruptcy Code. The Debtors are

managing and operating their businesses as debtors in possession pursuant to Bankruptcy Code

sections 1107(a) and 1108. No trustee, examiner or statutory creditors’ committee has been

appointed in these Chapter 11 cases.

       3.      The Debtors are a leading residential real estate finance company indirectly

owned by Ally Financial Inc., which is not a Debtor. The Debtors and their non-debtor affiliates

operate the tenth largest mortgage loan origination and fifth largest mortgage loan servicing

businesses in the United States. A more detailed description of the Debtors, including their

business operations, their capital and debt structure, and the events leading to the filing of these

bankruptcy cases, is set forth in the Whitlinger Affidavit.




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                                     RELIEF REQUESTED

I.      Request for Extension of Deadline by Which
        Debtors Must File Schedules and Statements

                4.      Pursuant to section 521 of the Bankruptcy Code and Rule 1007 of the

Bankruptcy Rules, the Debtors are required, within fourteen (14) days of the Petition Date, to file

with the Court (a) schedules of assets and liabilities, (b) schedules of current income and

expenditures, (c) statements of financial affairs, (d) statements of executory contracts and

unexpired leases, and (e) a list of equity security holders (collectively, the “Schedules and

Statements”).

                5.      By this Motion, the Debtors respectfully seek entry of an order,

substantially in the form attached hereto as Exhibit A, pursuant to Bankruptcy Rule 1007(c),

extending the deadline to file their Schedules and Statements by thirty-three (33) days, from

May 28, 2012, the date the Schedules and Statements are otherwise required to be filed under

Rule 1007 of the Bankruptcy Rules (such that the Debtors will file their Schedules and

Statements within 67 days of the Petition Date), through and including June 30, 2012. Such

request is without prejudice to the Debtors’ ability to request additional time should it become

necessary.

                6.      The Debtors request that to the extent necessary, the relief sought by this

Motion, in particular, a thirty-three (33) day extension of the time in which to file Schedules and

Statements, apply to any future debtor (a “Future Debtor”) in these jointly-administered cases.

The Debtors propose that an affiliated debtor be deemed to be a Future Debtor upon the Court’s

entry of an order authorizing the joint administration of such Future Debtor’s Chapter 11 case

with the Chapter 11 cases of the Debtors.




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II.     Basis for Relief

               7.      Section 521(a)(1) of the Bankruptcy Code and Rule 1007(b) of the

Bankruptcy Rules provide, in pertinent part, that a debtor shall file a list of its creditors and

“unless the court orders otherwise[,] a schedule of assets and liabilities, a schedule of current

income and current expenditures, and a statement of the debtor’s financial affairs . . . .” 11

U.S.C. § 521(a)(1); Fed. R. Bankr. P. 1007(b). Bankruptcy Rule 1007(c) provides that Schedules

and Statements shall be filed within fourteen (14) days of the filing of the petition, provided,

however, that “[a]ny extension of the time for the filing of schedules [and] statements” may be

granted “on motion for cause shown.” See Fed. R. Bankr. P. 1007(c).

               8.      As set forth more fully in the Whitlinger Affidavit, the Debtors and their

non-debtor affiliates are one of the largest originators and servicers of residential mortgage loans

in the United States. The Debtors have tens of thousands of creditors, and hundreds of billions

of dollars in assets and liabilities. Given the size and complexity of their businesses, the Debtors

have a significant amount of information to prepare in order to file their Schedules and

Statements.

               9.      The Debtors’ business operations require them to maintain voluminous

books and records and complex accounting systems. To prepare the Schedules and Statements,

the Debtors and their advisors must gather, review, and assemble information from books,

records, and documents related to thousands of transactions. Consequently, collecting the

information necessary to complete the Schedules and Statements will require substantial time

and effort on the part of the Debtors’ employees.

               10.     In light of the amount of work entailed in completing the Schedules and

Statements, as well as the size of the Debtors’ cases, the substantial burdens already imposed on

management by the commencement of these Chapter 11 cases, the number of employees


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required to collect the required information, the competing demands upon such employees, and

the time and attention the Debtors must devote to the restructuring process, the Debtors believe

that the fourteen-day period of time in which to file such Schedules and Statements provided by

Bankruptcy Rule 1007(c) will not be sufficient to permit completion of the Schedules and

Statements. Accordingly, the Debtors respectfully submit that “cause” exists to extend the

deadline as requested herein.

               11.     Nevertheless, recognizing the importance of the Schedules and Statements

in these chapter 11 cases, the Debtors intend to complete the Schedules and Statements as

quickly as possible under the circumstances. At this juncture, the Debtors estimate that an

extension of approximately one month will provide sufficient time to prepare and file the

Schedules and Statements. The Debtors thus request that the Court establish June 30, 2012 as

the date on or before which they must file their Schedules and Statements, without prejudice to

the Debtors’ rights to seek any further extensions from this Court, or to seek a waiver of the

requirement of filing certain Schedules and Statements.

               12.     The requested extension will help to ensure that the Debtors’ Schedules

and Statements are accurate and avoid the need for the Debtors to file subsequent amendments.

Additionally, the Debtors respectfully submit that an extension of time to file the Schedules and

Statements will not prejudice any creditor or other third party.


                                 APPLICABLE AUTHORITY

               13.     Courts have routinely granted to large business debtors the same or

substantially similar relief to that requested in this Motion. See, e.g., AMR Corporation, Case

No. 11-15463 (SHL) (Bankr. S.D.N.Y. Nov. 30, 2011) (Docket No. 56); MF Global Holdings

Ltd., Case No. 11-15059 (MG) (Bankr. S.D.N.Y. Jan., 18, 2012) (Docket No. 365); In re



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Lyondell Chemical Company, Case No. 09-10023 (REG) (Bankr. S.D.N.Y Jan. 7, 2009) (Docket

No. 55); In re Lenox Sales, Inc., Case No. 08-14679 (ALG) (Bankr. S.D.N.Y. Nov. 25, 2008)

(Docket No. 29); In re Lehman Brothers Holdings Inc., Case No. 08-13555 (JMP) (Bankr.

S.D.N.Y Sept. 16, 2008) (Docket No. 52); In re Frontier Airlines Holdings, Inc., Case No. 08-

11298 (RDD) (Bankr. S.D.N.Y. April 14, 2008) (Docket No. 46).

                                              NOTICE

               14.     Notice of this Motion will be given to the following parties, or in lieu

thereof, to their counsel: (a) the Office of the United States Trustee for the Southern District of

New York; (b) the office of the United States Attorney General; (c) the office of the New York

Attorney General; (d) the office of the United States Attorney for the Southern District of New

York; (e) the Internal Revenue Service; (f) the Securities and Exchange Commission; (g) each of

the Debtors’ prepetition lenders, or their agents, if applicable; (h) each of the indenture trustees

for the Debtors’ outstanding notes issuances; (i) the equity security holder; (j) counsel to the

administrative agent for the Debtors’ proposed providers of debtor in possession financing; and

(k) the parties included on the Debtors’ list of fifty (50) largest unsecured creditors. The Debtors

submit that, in view of the facts and circumstances, such notice is sufficient and no other or

further notice need be provided.

                                          CONCLUSION

               WHEREFORE, the Debtors respectfully request that the Court (i) enter an order

substantially in the form annexed hereto as Exhibit A granting the relief requested in the Motion;

and (ii) such other and further relief to the Debtors as the Court may deem just and proper.




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Dated: May 14, 2012
       New York, New York

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                                 EXHIBIT A




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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                       )
    In re:                                             )       Case No. 12-
                                                       )
    RESIDENTIAL CAPITAL, LLC, et al.,                  )       Chapter 11
                                                       )
                                       Debtors.        )       Jointly Administered
                                                       )

                    ORDER UNDER BANKRUPTCY CODE SECTION 521 AND
                     BANKRUPTCY RULE 1007(c) EXTENDING TIME FOR
                         FILING SCHEDULES AND STATEMENTS

                   Upon the motion (the “Motion”)1 of the Debtors for an order, under Bankruptcy

Code section 521 and Bankruptcy Rule 1007(c), extending the deadline by which the Debtors

must file their Schedules and Statements for an additional thirty-three (33) days, through and

including June 30, 2012; and upon the Whitlinger Affidavit; and due and sufficient notice of the

Motion having been given under the particular circumstances; and it appearing that no other or

further notice need be provided; and it appearing that the relief requested by the Motion is in the

best interests of the Debtors’ estates, their creditors, and other parties in interest; and after due

deliberation thereon; and sufficient cause appearing therefor, it is hereby

                   ORDERED, ADJUDGED, AND DECREED THAT:

                   1.       The Motion is GRANTED, as set forth herein.

                   2.       The time by which the Debtors must file their Schedules and Statements

shall be and hereby is extended for an additional thirty-three (33) days, through and including




1
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
      Creditors and parties-in-interest with questions or concerns regarding the Debtors’ Chapter 11 cases or the relief
      requested in this Motion may refer to http://www.kccllc.net/rescap for additional information.




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June 30, 2012, without prejudice to the Debtors’ right to seek additional extensions, or to seek a

waiver of the requirement to file certain Schedules and Statements.

               3.      Notwithstanding anything herein to the contrary, this Order shall not

modify or affect the terms and provisions of, nor the rights and obligations under, (a) the Board

of Governors of the Federal Reserve System Consent Order, dated April 13, 2011, by and among

Ally Financial Inc., Ally Bank, Residential Capital, LLC, GMAC Mortgage, LLC, the Board of

Governors of the Federal Reserve System, and the Federal Deposit Insurance Corporation,

(b) the consent judgment entered by the District Court for the District of Columbia, dated

February 9, 2012, (c) the Order of Assessment of a Civil Money Penalty Issued Upon Consent

Pursuant to the Federal Deposit Insurance Act, as amended, dated February 10, 2012 and (d) all

related agreements with Ally Financial Inc. and Ally Bank and their respective subsidiaries and

affiliates (excluding Residential Capital, LLC and its subsidiaries).

               4.      The relief granted by this order shall apply to any Future Debtor in these

jointly-administered cases.

               5.      This Court shall retain jurisdiction with respect to all matters relating to

the interpretation or implementation of this Order.

Dated:         New York, New York
               _______________, 2012




                                                      UNITED STATES BANKRUPTCY JUDGE




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